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                                                                                                                                       Could
                                                                                                    Assertion re    Raised in          Have
                                                                                                   Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief       Asserted Grounds for Relief: Facts                            Not Raised Below Prosecution Appeal Raised
 1 The indictment, conviction,        Congress only placed the decision to enforce tax laws, civil Appellate Counsel Documents Opening           Yes
   sentence, and judgment on all and criminal, in the office of the Secretary of the Treasury         ineffective    51, 280, 281, Brief at 3,
   Six Counts must be vacated and personally at 26 USC § 7801(a). The June 3, 2005, letter                           282 and 283 8-12, 25,
   set aside being entered without proffered as a referral for Grand Jury prosecution is not                                       31; Reply
   jurisdiction in violation of       issued by the Secretary of the Treasury as defined at 26 USC                                 Brief at 4-
   Article 1, § Cl. 3. Article III, § § 7701(a)(11)(A). Neither the offices of U.S. Attorney David                                   5, 14
   2, Fifth Amendment, 18 U.S.C. O'Mielia [sic], Grand Jury, or the District Court Judge, had
   § 3231 and 26 USC § 7801(a). Congressional or Constitutional authority to enforce the Tax
                                      Laws under Title 26 or offenses related to Title 26 without
                                      the permission of the Secretary of the Treasury.

 2 The indictment, conviction.       Congress only authorized the Secretary of the Treasury to    Appellate Counsel   Documents Opening          Yes
   sentence, and judgment on each personally enforce all Tax Laws under Title 26. Congress           ineffective       280, 281, Brief at 53
   of the Six Counts must be         only authorized a U.S. Attorney to prosecute criminal                            282 and 283
   vacated and set aside where       offenses at 28 USC § 547(1). David O'Mielia [sic] resigned
   Trial Jurisdiction was lost when his Senate confirmed office on June 28, 2009, out of the
   the U.S. Attorney resigned on Northern Judicial District of Oklahoma. No U.S. Attorney
   June 28, 2009 leaving no one      existed from June 28, 2009 until Summer, 2012.
   authorized by the President or
   the Secretary of the Treasury, or
   confirmed by the Senate under
   28 USC § 541 to prosecute me
   on tax, or tax related offenses,
   under 28 USC § 547(1).




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                                                                                                                                      Could
                                                                                                   Assertion re    Raised in          Have
                                                                                                  Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief       Asserted Grounds for Relief: Facts                           Not Raised Below Prosecution Appeal Raised
 3 The indictment, conviction,      The proffered June 3, 2005, jurisdictional referral is clearly  Appellate Counsel Documents Opening          Yes
   sentence, and judgment on        for only Calendar and Tax Years 2000 through 2004. Count           ineffective     280, 281, Brief at 8-
   Counts One, Two, Three, and One is for 2000 through 2009. Count Two is 2000 through                                282 and 283   13, 46
   Four, must be vacated and set 2009. Count Three is for 2003 through 2009. Count 4 is for
   aside being each entered         2005 through 2009. Each exceed the years 2000 through
   without jurisdiction exceeding 2004.
   the Calendar and Tax Years of
   the June 3, 2005, referral.
 4 The indictment, conviction,      The referral on June 3, 2005 is for me only and the Calendar Appellate Counsel                 Opening       Yes
   sentence, and judgment as to     and Tax Years 2000 through 2004. The January 6, 2007               ineffective                 Brief at 3,
   Count One must be vacated and letter joining Oscar Stilley does not change the limitations                                      8-12, 25,
   set aside being in violation of  placed on the U.S. Attorney's Jurisdiction to prosecute, or the                                31; Reply
   the Fifth and Sixth              Grand Jury and District's Jurisdiction to enforce. The Trial                                  Brief at 4-
   Amendments, as well as Article Court added Stilley's tax liabilities to the Jury instructions on                                  5, 14
   III, § 2, 18 U.S.C. § 3231 and Count One, or did not prohibit it, and the verdict as to Count
   26 U.S.C. § 7801.                One was obtained by this impermissive broadening of Count
                                    One.
 5 The conviction, sentence, and The purported search warrant evidence gathered on                  Appellate Counsel Documents Opening          Yes
   judgment on each of the Six      September, 16, 2005, by the IRS after the IRS Grand Jury           ineffective     74 and 75 Brief at 9-
   Counts must be vacated and set referral, or any other evidence gathered by enforcement of                                      10, 23-29,
   aside being entered in violation the IRS after June 3, 2005, should have been suppressed from                                    31, 51;
   of the Fourth and Fifth          being used at Jury Trial due to such evidence being gathered                                  Reply Brief
   Amendments and the               in Bad Faith and without Congressional authity [sic], and                                     at 1-7, 10,
   prophylactice [sic] rule         based upon false and misleading testimony regarding the                                            13
   announted [sic] in US v.         investigation. This includes all records and statements of any
   LaSalle, 437 U.S. 298 (1978)     kind (but not limited to).




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                                                                                                                                        Could
                                                                                                     Assertion re    Raised in          Have
                                                                                                    Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                           Not Raised Below Prosecution Appeal Raised
 6 The conviction, sentence, and      The U.S. Magistrate Frank H. McCarthy, had no                 Appellate Counsel   Documents Opening        Yes
   judgment on each of the Six        Congressional Authority to issue a search warrant to IRS         ineffective      74 and 75 Brief at 25-
   Counts must be vacated and set     Special Agent Brian Shern on September 15, 2005, for the                                    26, 30-34;
   aside being entered in violation   IRS to criminally investigate me for Calendar and Tax Years                                 Reply Brief
   of the Fourth and Fifth            2000 through 2004 due to the June 3, 2005, proffered Grand                                  at 1-8, 10,
   Amendment.                         Jury referral for criminal prosecution. Mr. Shern had no                                        13
                                      Congressional authority to serve a search warrant pursuant to
                                      26 USC § 7608(b) after the June 3, 2005, referral has been
                                      made.




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                                                                                                                                       Could
                                                                                                    Assertion re    Raised in          Have
                                                                                                   Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                          Not Raised Below Prosecution Appeal Raised
 7 The indictment, conviction,        Shern was added to the ongoing IRS criminal investigation of Appellate Counsel   Documents Opening        Yes
   sentence, and judgment on all      me on April 26, 2005. On June 3, 2005, AUSA Nelson              ineffective      74 and 75 Brief at 25-
   Six Counts must be set aside       sought and received a letter from Special Agent in Charge                                  26, 30-34;
   being in violation of the Fourth   Lacenski proffering referral from the IRS to DOJ for 2000 to                               Reply Brief
   and Fifth Amendments.              2004. On September 15, 2005, Nelson and Shern sought                                       at 1-8, 10,
                                      search warrant from Magistrate McCarthy whereby falsely                                        13
                                      and fraudulently swearing the IRS was continuing its
                                      investigation of me when both Nelson and Shern were fully
                                      aware of the June 3, 2005, proffered referral. Both Nelson
                                      and Shern knew, or should have known, IRS statutory
                                      authority ceased upon Grand Jury referral pursuant to U.S. v.
                                      LaSalle, 437 U.S. 298, 308 (1978) and Bedarco v. CIR, 646
                                      U.S. 386, 308-312 (1983) Government bears burden of proof
                                      that search and seizure was reasonable, See U.S. v. White,
                                      584 F.3d 935, 944 (10th Cir. 2009), and acting in bad faith
                                      and under false pretense in order to use IRS authority to
                                      gather evidence from DOJ was knowingly prohibited. Fourth
                                      Amendment prohibits and protects me from Nelson and
                                      Shern's conduct. Mapp v. Ohio, 367 U.S. 643, 655 (1961).




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                                                                                                                                     Could
                                                                                                  Assertion re    Raised in          Have
                                                                                                 Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief      Asserted Grounds for Relief: Facts                           Not Raised Below Prosecution Appeal Raised
 8 The indictment, conviction,    On September 15, 2005, the Clerk's Office received and filed       Concedes in      Documents Opening        Yes
   sentence, and judgment on all in its Grand Jury drawer an unsworn affidavit signed by         asserted grounds for 74 and 75 Brief at 25-
   Six Counts must be vacated and Brian Shern. I moved to quash the fruits of the search due to relief that this was            26, 30-34;
   set aside in violation of the  the Search Warrant not being obtained by sworn affidavit and raised in criminal               Reply Brief
   Fourth and Fifth Amendment. was denied Doc. 100, Def Exh. 1 Immediately after the                 prosecution.               at 1-8, 10,
                                  search I moved for discovery of the Affidavit and was denied       Alleges that                   13
                                  by Magistrate Mcarthy [sic] being instructed I would need       Appellate Counsel
                                  wait until I was prosecuted. Doc. 37-2, pg. 41-42 and 43-44         ineffective
                                  Had I been told of the June 3, 2005 proffered referral for
                                  2000 through 2004 I would have moved to suppress use of
                                  the fruits of the search from being used before the Grand Jury
                                  for being obtained in violation of the Fourth and Fifth
                                  Amendment. The evidence gathered on September 16, 2005
                                  was obtained in bad faith and under false and fraudulent
                                  claims of authority.




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                                                                                                                                            Could
                                                                                                         Assertion re    Raised in          Have
                                                                                                        Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                               Not Raised Below Prosecution Appeal Raised
  9 The indictment, conviction,          I sought the search warrant affidavit and was denied after it   Appellate Counsel   Documents Opening         Yes
    sentence, and judgment on all was executed. Magistrate Frank H. McCarthy ordered I was                  ineffective      74 and 75 Brief at 25-
    Six Counts must be vacated and not entitled to it until prosecuted. Although search warrant                                        26, 30-34;
    set aside, or corrected, being in was signed by Magistrate McCarthy, the Affidavit in support                                      Reply Brief
    violation of the Fourth and Fifth of the search was not, as filed in the Clerk's Office. Shern's                                   at 1-8, 10,
    Amend.                               signature was blue ink but not sworn before anyone.                                               13
                                         Magistrate McCarthy said in his order the affidavit would
                                         remain in the Clerk's Office "general sealed grand jury file."
                                         Doc. 37-2, pg. 44 The search warrant was not supported by
                                         an "affidavit" that was sworn on September 15, 2005, when
                                         the search warrant was issued as required by Fed.R.CR.Pr.
                                         41(d)(1) and (2). Rule 41(e)(1) requires the search warrant be
                                         issued to an officer authorized to execute it by Congress. The
                                         Trial Judge should have quashed the warrant and its fruit or
                                         ordered a full FRANK's Hearing on whether Rule 41 was
                                         violated in issuance of the search warrant by the Magistrate
                                         judge.
 10 The sentencing and judgment          The Trial and Sentencing Judge ordered Defendant to pay         Appellate Counsel   Document     Opening      Yes
    for restitution to the State of      over $ 80,000.00 to the Sovereign State of Oklahoma who            ineffective        321       Brief at 49
    Oklahoma exceeds the United was not a party to the indictment and nor could it be. The
    States Congress's jurisdiction as District Court had no jurisdiction or authority to order
    sovereign, in violation of the       Defendant to a certain amount of restitution, Federal or State.
    Fifth, Ninth, Tenth, Eleventh
    Amendments, Article I, § 8, Cl.
    1, Article I, § 8, Cl. 3, Article I,
    § 8, Cl. 18, Article III, § 2, 18
    U.S.C. § 3231.


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                                                                                                                                        Could
                                                                                                     Assertion re    Raised in          Have
                                                                                                    Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                            Not Raised Below Prosecution Appeal Raised
 11 The sentencing and judgment      In 1913 the States were found by Secretary of State Knoxs    Appellate Counsel    Document    Opening      Yes
    for restitution to the State of  [sic] to have surrendered their retained power to tax income    ineffective         321      Brief at 49
    Oklahoma for Calendar and Tax from whatever source derived to the United States, by way of
    Years 1990 to 1995, 1999, and and as adopted by Congress, in the direct language of the
    2000 through 2007, must be       Sixteenth Amendment. The Trial and Sentencing Court
    vacated and set aside for        ordered me to pay the State of Oklahoma over § 80,000.00
    whatever laws the Court relied [sic] in restitution which because the State of Oklahoma, by
    upon which it did not identify, way of the Sixteenth Amendment, no longer has any claim
    those State of Oklahoma laws, over taxing any adjusted gross income, any such statutes
    as imposed, are unconstitutional enacted by the State of Okalhoma [sic] are unconstitutional.
    and in violation of the Fifth,
    Ninth, and Tenth Amendments.

 12 The sentence and judgment for The Restitution Order entered by the Trial and Sentencing        Appellate Counsel   Document  Opening        Yes
    restitution exceeds the referral Judge explained on April 23, 2010, and entered on April 28,      ineffective        321    Brief at 46-
    jurisdiction proffered by the     2010, exceeded the referral time period of 2000 through                                       50
    U.S. Attorney on June 15, 2009, 2004. The time period included in the restitution order was
    and are in violation of the Fifth 1990 through 1995, 1999, and 2000 through 2007.
    Amendment, Article III, § 2, 18
    U.S.C. § 3231 and 26 U.S.C. §
    7801.




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                                                                                                                                             Could
                                                                                                          Assertion re    Raised in          Have
                                                                                                         Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                                Not Raised Below Prosecution Appeal Raised
 13 The sentence and judgment on The Court ordered restitution in its sentence and judgment           Appellate Counsel                             Yes
    all Six Counts must be vacated dated April 28, 2010. The Court cited no authority from               ineffective
    and set aside or corrected being either the Constitution or Congress authorizing it to order any
    in violation of Fifth            amount of restitution for any tax year for Title 26 offenses, or
    Amendment Due Process clause Title 26 related offenses as all Six Counts are Title 26
    and without any jurisdiction     offenses, or Title 26 related offenses. The District Court was
    regarding restitution.           without jurisdiction to order me pay any restitution.

 14 The sentence and judgment as The proffered referral is for 2000 through 2004 and only               Appellate Counsel   Document  Opening       Yes
    to all Six Counts must be          involves my alleged tax liabilities on information and belief.      ineffective        321    Brief at 46-
    vacated, set aside, and corrected The Court relied upon tax years 1990 to 1995, 1999, and                                            50
    being in violation of Article III, 2000 through 2007 in its assessment of "Tax Loss" and
    § 2, 18 U .S.C. § 3231, in         restitution. There was no evidence of any tax evasion for
    excess of the granted of           1990 through 1995 as the amounts in the assessment were
    Congressional Authority, in        generated through Bureau of Labor Statistics. 1999 was
    violation of the Fifth             entirely the $ 111,000.00 transaction with Hedberge and
    Amendment Due Process clause Shern testified he told him it was a donation. Relevant
    and equal protection               conduct means criminal relevant conduct not just failure to
    component.                         file or pay. I am aware of no evidence of criminal intent
                                       offered as to 1990 through 1995 and 1999. I think the same
                                       error of evasion of assessment verses [sic] payment found its
                                       way into Tax Loss and restitution.




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                                                                                                                                        Could
                                                                                                     Assertion re    Raised in          Have
                                                                                                    Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                            Not Raised Below Prosecution Appeal Raised
 15 The indictment, conviction,     None of the Six Counts track the language of the alleged          I was not given         Opening       Yes
    sentence, and judgment on all offended statute. Each Count alleges, or interpreted to mean,       notice that Form       Brief at 12-
    Six Counts must be vacated and I was required by Act of Congress to file with a "proper"        1040 was divorced         15; Reply
    set aside being each entered in officer of the United States, a Form 1040 United States        from the Six Counts       Brief at 15-
    violation of the Fifth          Individual Income Tax Return for years 2000 through 2005 offense conduct so I                 18
    Amendment's indictment clause. which in Counts One, Two, Three, and Four, led to taxes         was misled. In fact,
                                    being due and owing. The Tenth Circuit held this Form 1040 I was specifically
                                    however was "divorced" from each of the Six Counts and          led Form 1040 was
                                    "divorced" from 26 USC §§ 6012 and 7203. I was given no at the heart of each
                                    notice of the "divorce" finding. Each Count required proof of          Count.
                                    intent.
 16 The indictment, conviction,     I was given no notice Form 1040 was "divorced" from the           I was not given         Opening       Yes
    sentence, and judgment on all offense conduct in all Six Counts. In fact, I was given notice      notice that Form       Brief at 12-
    Six Counts must be vacated and the conduct in each of the Six Counts was inexorably linked 1040 was divorced               19, 53;
    set aside being each entered in to Form 1040 United States Individual Income Tax Return. from the Six Counts             Reply Brief
    violation of the Fifth          My choice to waive Counsel, pre-trial defenses, trial          offense conduct so I       at 19-24
    Amendments Due Process          defenses, including my right to present a good faith defense, was misled. In fact,
    Clause.                         were based upon my claim I did not act willfully in failing to I was specifically
                                    file Form 1040s alleged in each Count. I would not have         led Form 1040 was
                                    presented a 1040 good faith defense, or acted the way I did; at the heart of each
                                    had I known of the divorce theory.                                     Count.




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                                                                                                                                        Could
                                                                                                     Assertion re    Raised in          Have
                                                                                                    Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                            Not Raised Below Prosecution Appeal Raised
 17 The indictment, conviction,     Based upon my understanding each of the Six Counts were           I was not given    Documents Opening          Yes
    sentence, and judgment on all inexorably linked to the Form 1040 United States Individual         notice that Form   53, 54 and Brief at 12-
    Six Counts must be vacated and Income Tax Return, and that same Form 1040 was inexorably 1040 was divorced              262      23; Reply
    set aside being entered in      linked to the Paperwork Reduction Acts through Form 1040 from the Six Counts                    Brief at 19-
    violation of my right to choose instructions and notices, I sought and was permitted by the     offense conduct so I                 24
    whether to testify under the    Trial Court to present a good faith defense as to why I did not was misled. In fact,
    Fifth Amendment.                willfully fail to file the specified Form 1040. I never would    I was specifically
                                    have taken the witness stand and testified about why I did not led Form 1040 was
                                    willfully fail to file Form 1040 had I known it was divorced at the heart of each
                                    from each of the Grand Jury's Six Counts.                              Count.


 18 The indictment, conviction,     The Grand Jury alleged Form 1040 United States Individual           I was not given   Documents Opening         Yes
    sentence, and judgment on all Income Tax Return questions were central to each of the Six           notice that Form  8, 82, 105 Brief at 12-
    Six Counts must be vacated and Counts. The Court discussed with me Form 1040 numerous             1040 was divorced    and 166     19, 53;
    set aside being each entered in times even ordering Two Bills of Particulars. The Form 1040 from the Six Counts                  Reply Brief
    violation of the Sixth          Instructions say I "must fill all the parts of the tax form that offense conduct so I             at 19-24
    Amendment Right to know the apply to me." The Tenth Circuit held in Affirming on Appeal was misled. In fact,
    ''nature" and "cause" of the    that Form 1040 was divorced from the conduct alleged in            I was specifically
    accusations in each Count.      each Count as well as "divorced" from the requirements of 26 led Form 1040 was
                                    USC §§ 6012 and 7203. Each Count is a specific intent            at the heart of each
                                    offense.                                                                 Count.




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                                                                                                                                         Could
                                                                                                      Assertion re    Raised in          Have
                                                                                                     Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 19 The conviction, sentence, and    Both witnesses Brian Shern and Brian Miller testified I was       I was not given     Document    Opening       Yes
    judgment on all Six Counts       required to file agency specified Form 1040 United States         notice that Form      396 -    Brief at 12-
    must be vacated and set aside    Individual Income Tax Returns as alleged in each Count.          1040 was divorced Transcript of 19, 40-45,
    being in violation of my Sixth   Each of the Six Counts were returned after only Brian Shern from the Six Counts Testimony 53; Reply
    Amendment Right to call          testified before the Grand Jury. The Trial Judge instructed the offense conduct so I on 11/12/09 Brief at 19-
    witnesses, cross examine         Jury Form 1040 did not and does violate the Paperwork           was misled. In fact,                 24
    witnesses and put on a defense   Reduction Act. I testified, limited to around 90 minutes about I was specifically
                                     1040 and why I believed I was not required by any law to file led Form 1040 was
                                     Form 1040 to the Jury. I discussed Form 1040 numerous           at the heart of each
                                     times with the Court. I would have proceeded differently had           Count.
                                     I known Form 1040 was "divorced" from the offense conduct
                                     duties and obligations.

 20 The conviction, sentence, and The Government argued and convinced the Tenth Circuit           I was not given                      Opening       Yes
    judgment on all Six Counts is in Form 1040 United States Individual Income Tax Returns is     notice that Form                    Brief at 12-
    violation of the Fifth           "divorced" from 26 U.S.C. §§ 6012 and 7203, statutes       1040 was divorced                       19, 53;
    Amendment Due Process clause provided by the First Court Ordered Bill of Particulars. The from the Six Counts                     Reply Brief
    and notice component.            Government had a duty to not mislead me about 26 U.S.C. § offense conduct so I                    at 19-24
                                     6011 in the meaning of what the law required relied by the was misled. In fact,
                                     Grand Jury in the offense conduct alleged.                  I was specifically
                                                                                                led Form 1040 was
                                                                                                at the heart of each
                                                                                                       Count.




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                                                                                                                                             Could
                                                                                                          Assertion re    Raised in          Have
                                                                                                         Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief          Asserted Grounds for Relief: Facts                               Not Raised Below Prosecution Appeal Raised
 21 The convinction [sic], sentence, The Grand Jury alleged I willfuly failed to do what the law           I was not given                   Opening       Yes
    and judgment on all Six Counts required as the basis for each of its Six Counts. The Court             notice that Form                 Brief at 12-
    must be vacated and set aside    ordered Two Bills of Particulars on what was meant by               1040 was divorced                    19, 53
    being in violation of the Fifth  "required by law" and "regulations thereunder". The                from the Six Counts
    Amendment Due Process clause Government cited to to [sic] 26 U.S.C. § 6011 and 26 CFR § offense conduct so I
    and notice component.            1.6011-1 which misled me into a false understanding of the was misled. In fact,
                                     offense conduct applicable both as to the element of willfully I was specifically
                                     and where the duties and obligations arose in the law. The          led Form 1040 was
                                     decision by the Tenth Circuit, at the insistance [sic] of the       at the heart of each
                                     Government, resulted in the Tenth Circuit divorcing Form                   Count.
                                     1040 from the Grand Jury's Six Counts and from 26 U.S.C.
                                     §§ 6012 and 7203.
 22 The conviction, sentence, and 26 U.S.C. § 6012 calls for "Returns with respect to income               I was not given      Documents Opening          Yes
    judgment on all Six Counts       taxes under Subtitle A shall be made by the following" and            notice that Form     51, 52, 53, Brief at 12-
    must be vacated and set aside    directs individuals with an uncertain amount of gross income 1040 was divorced             54, 55, 56,   19, 53
    for being in violation of Fifth  to so make. 26 U.S.C. § 6065 directs the Secretary of the          from the Six Counts     57, 58, 59,
    Amendment Due Process            Treasury to determine when an income tax return is to be           offense conduct so I    60, 61, 62,
    clause.                          verified. 26 CFR § 1.6065-1 directs that taxpayers should          was misled. In fact,    63, 64, 65
                                     look to the Secrertary' s [sic] Form or instruction to               I was specifically      and 66
                                     determine whether any return must be verified. 26 CFR §             led Form 1040 was
                                     1.6012-1(a)(6) directs use of Form 1040. 26 U.S.C . §               at the heart of each
                                     6011(a) requires use of prescribed Forms of Return. If Form                Count.
                                     1040 is divorced from from [sic] the obligations at issue in all
                                     Six Counts then the Secretary has not made any request to
                                     file any return of income tax to be verified. If I was not to file
                                     a verified return then I was not required by law to file
                                     anything reporting any return of income tax with the IRS.
                                     Dismissal for failure to state offenses is demanded.

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                                                                                                                                            Could
                                                                                                         Assertion re    Raised in          Have
                                                                                                        Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                               Not Raised Below Prosecution Appeal Raised
 23 The conviction, sentence, and     18 U.S.C. § 371 is unconstitutionally vague and ambiguous,         I was not given          Opening       Yes
    judgment as to Count One is in    subject two [sic] distinctly different constructions applicable    notice that Form        Brief at 12-
    violation of the Fifth            to two different constructions, with one construction being      1040 was divorced           20, 53
    Amendment Due Process             inexorably linked to Form 1040 United States Individual         from the Six Counts
    clause.                           Income Tax Returns, and the other being "divorced" as held offense conduct so I
                                      by the Tenth Circuit.                                           was misled. In fact,
                                                                                                        I was specifically
                                                                                                       led Form 1040 was
                                                                                                       at the heart of each
                                                                                                              Count.

 24 The conviction, sentence, and 26 U.S.C. § 7201 is unconstitutionally vague ambiguous,                I was not given          Opening       Yes
    judgment as to Counts Two,        subject to two distinctly different constructions applicable to    notice that Form        Brief at 12-
    Three, and Four, are in violation two different constructions, with one construction being         1040 was divorced           24, 53
    of the Fifth Amendment Due        inexorably linked to Form 1040 United States Individual         from the Six Counts
    Process clause.                   Income Tax Returns, and the other being "divorced" as held offense conduct so I
                                      by the Tenth Circuit.                                           was misled. In fact,
                                                                                                        I was specifically
                                                                                                       led Form 1040 was
                                                                                                       at the heart of each
                                                                                                              Count.




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                                                                                                                                         Could
                                                                                                      Assertion re    Raised in          Have
                                                                                                     Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 25 The conviction, sentence, and 26 U.S.C. § 7203 is unconstitutionally vague and ambiguous,         I was not given          Opening       Yes
    judgment as to Counts Five and subject to two distinctly different constructions applicable to    notice that Form        Brief at 12-
    Six, are in violation of the Fifth two different constructions, with one construction being     1040 was divorced           19, 53
    Amendment Due Process              inexorably linked to Form 1040 United States Individual     from the Six Counts
    clause.                            Income Tax Returns, and the other being "divorced" as held offense conduct so I
                                       by the Tenth Circuit.                                       was misled. In fact,
                                                                                                     I was specifically
                                                                                                    led Form 1040 was
                                                                                                    at the heart of each
                                                                                                           Count.

 26 The conviction, sentence, and 26 U.S.C. §§ 1,6011, 6012(a)(1), 6091(a), 6091(b), 6151, as         I was not given          Opening       Yes
    judgment as to all Six Counts applied to the conduct alleged in each Count against me, are        notice that Form        Brief at 12-
    are in violation of the Fifth each unconstitutionally vague and ambiguous, each being           1040 was divorced           19, 53
    Amendment Due Process clause subject to two different constructions applicable to two          from the Six Counts
    and must be vacated or set    different constructions, with one construction being             offense conduct so I
    aside.                        inexorably linked to Form 1040 United States Individual          was misled. In fact,
                                  Income Tax Returns, and the other being "divorced" as held         I was specifically
                                  by the Tenth Circuit.                                             led Form 1040 was
                                                                                                    at the heart of each
                                                                                                           Count.




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                                                                                                                                                  Could
                                                                                                               Assertion re    Raised in          Have
                                                                                                              Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief           Asserted Grounds for Relief: Facts                                   Not Raised Below Prosecution Appeal Raised
 27 The conviction, sentence, and       26 CFR §§ 1.6011-1(a), 1.6012(a)(6), 1.6091-2 (2000              I was not given                       Opening       Yes
    judgment on all Six Counts          through 2004) and 1.6091-2(2005), as applied to the conduct      notice that Form                     Brief at 12-
    must be vacated and set aside       alleged in each Count against me, are each unconstitutionally 1040 was divorced                         19, 53
    for being in violation of the       vague and ambiguous, each being subject to two different      from the Six Counts
    Fifth Amendment Due Process         constructions applicable to two different constructions, with offense conduct so I
    Clause.                             one construction being inexorably linked to Form 1040         was misled. In fact,
                                        United States Individual Income Tax Returns, and the other      I was specifically
                                        being "divorced" from both "tax returns" and Form 1040 as      led Form 1040 was
                                        held by the Tenth Circuit.                                     at the heart of each
                                                                                                              Count.

 28 The referral, conviction,        Form 1040 United States Individual Income Tax Returns, as               Appellate Counsel   Documents     Opening       Yes
    sentence, and judgment on all the Secretary of the Treasury and Commissioner of Internal                    ineffective      53, 54 and    Brief 14-
    Six Counts must be vacated and Revenue, Congress, and numerous Courts, prior to the                                             262         23, 53;
    set aside for being in violation decision by the Tenth Circuit in this case, each say is the                                              Reply Brief
    of the Fifth Amendment Due       request for information at 26 U.S.C. §§ 6011 and 6012(a)(1),                                              at 19-25
    Process Clause.                  and that such Form 1040 is subject to the Paperwork
                                     Reduction Act of 1980 and 1995. The Grand Jury's alleged
                                     Form 1040 failed to display compliance with 44 U.S.C. §§
                                     3506(c)(1)(B)(i), (ii), (iii), (I), (II), (III), (IV), and (V), 3507,
                                     and 3512(a)(1) and (2), as well as OMB regulations 5 CFR §
                                     1320.8(b). The term "penalty" is defined at 44 U.S.C. §
                                     3502(14) to mean "punishment" by a Court and "revocation,
                                     suspension . . . or denial of a . . . right .."




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                                                                                                                                          Could
                                                                                                       Assertion re    Raised in          Have
                                                                                                      Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 29 The referral, indictment,       Congress directed at 44 U.S.C. § 3512(a) no law withstood    Appellate Counsel         Documents     Opening      Yes
    conviction, sentence, and       the public protection from penalty (''Notwithstanding any       ineffective            53, 54 and    Brief 14-
    judgment on all Six Counts      other provision of law .. ") and that the Form seeking                                    262         23, 53;
    must be vacated and set aside   information or asking questions must display a "valid [OMB]                                         Reply Brief
    being in violation of the Fifth control number assigned by the Director in accordance with                                           at 19-25
    Amendment Due Process clause this subchapter." The Tenth Circuit and District Court held
    and its equal protection        laws do withstand the public protection provision, including
    component.                      18 U.S.C. § 371 [Count One], and 26 U.S.C. § 7201 [Counts
                                    Two, Three and Four], and 26 U.S.C. § 7203 [Counts Five
                                    and Six] [lessor included to Counts Two, Three, Four](see
                                    Doc. 104). Form 1040 does not display a control number
                                    issued in accordance with the PRA. The Judges at both
                                    Courts have ex post facto created a form of legislative
                                    entrapment unsupported by Congress.

 30 The conviction, sentence, and At trial, the Judge intervened on my claimed and exercised           Appellate Counsel   Document      Opening      Yes
    judgment on all Six counts must right to a jury trial on the element of willfully, as to each         ineffective        262         Brief 14-
    be vacated and set aside for    Count, by instructing the jury as a matter of fact and law he                                         23, 53;
    being in violation of the Sixth had found Form 1040 did not and does not violate the                                                Reply Brief
    Amendment Jury Trial Right.     Paperwork Reduction Act -- such instruction being erroneous                                          at 19-25
                                    as to its place in the jury trial, and was constitutionally error,
                                    as well as error both legally and factually. At sentencing the
                                    Trial Judge relied upon the claim the Jury had rejected my
                                    good faith PRA defense and applied that conclusion to all
                                    years 1990 to 1995, 1999, and 2000 through 2007 under its
                                    assertion of "relevant" conduct and tax loss.




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                                                                                                                                      Could
                                                                                                   Assertion re    Raised in          Have
                                                                                                  Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                         Not Raised Below Prosecution Appeal Raised
 31 The referral, indictment,         I was actively misled by the Secretary of the Treasury and      I was not given   Documents Opening       Yes
    conviction, sentence, and         Commissioner of the Internal Revenue's Form 1040 U.S.          notice that Form 262 and 396 - Brief 14-
    judgment on all Six Counts        Individual Income Tax Returns, their 1040 instructions, and 1040 was divorced Transcript of 23, 53;
    must be vacated and set aside     the U.S. Department of Justice's and those of its Attorneys         from the      Testimony Reply Brief
    being in violation of the Fifth   and Agents of the Secretary of the Treasury, who asserted for requirement of §§ on 11/12/09 at 19-25
    Amendment.                        the years at issue in each of the Six Counts that under 26    6011 and 6012, and
                                      U.S.C. §§ 6001, 6011, 6012(a), and their regulations, Form     their regulations.
                                      1040 U.S. Individual Income Tax Returns use was mandatory With such notice I
                                      and subject to the public protection of the Paperwork          would have, with
                                      Reduction Act. I relied upon each representation made in      benefit of Counsel,
                                      Form 1040 and its instructions, as well as the Form 83I          defended with
                                      application submitted to the Office of Management and           "entrapment by
                                      Budget IRS's compliance officer or delegate which was              estoppel"
                                      reasonable under the circumstances of the duties and
                                      obligations at issue. There is clear and unmistakable
                                      evidence each of these persons in office were, at different
                                      stages, responsible for interpreting, administering, or
                                      enforcing the law defining the offenses.




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                                                                                                                                        Could
                                                                                                     Assertion re    Raised in          Have
                                                                                                    Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                           Not Raised Below Prosecution Appeal Raised
 32 The indictment, conviction,      The Secretary of the Treasury or Commissioner of Internal     Appellate Counsel Document       Opening       Yes
    sentence, and judgment on all Revenue failed to publish compliance with 5 U.S.C. § 552,           ineffective       396 -      Brief at 18
    Six Counts must be vacated and adversly [sic] affecting my liberty and property interests. Not                   Transcript of
    set aside for being in violation only did the Grand Jury alleged conduct I was required by                        Testimony
    of the Fifth Amendment Due       law to perform for each Calendar or Tax Year in each of the                     on 11/12/09
    Process Cl.                      Six Counts, but they also directed I was to accomplish filing
                                     Form 1040 with a "proper" official which necessarily means
                                     at a place "fixed" by law. No such place was "fixed" by law,
                                     as I understand it, and I was given no identity of either the
                                     name of the "proper" official was or is, and or any title of
                                     such officer or position to the best of my knowledge.

 33 The conviction, sentence, and     The Grand Jury alleged conduct of attempting to evade         Appellate Counsel               Opening       Yes
    judgment as to Counts Two,        assessment in Counts Two, Three, and Four, but the               ineffective                 Brief at 35-
    Three, and Four, must be set      Government switched these Counts to evasion of payment, or                                    37; Reply
    aside being in violation of the   joined them as a single crime of both evasion of assessment                                  Brief at 24-
    Fifth and Sixth Amendment, as     and payment, convincing the Trial Court to instruct the Jury                                      25
    well as Article III, § 2 and 18   that the crimes they were to consider in each of these three
    U.S.C. § 3231                     Counts was evasion of payment only. The Supreme Court
                                      recently, but after the Tenth Circuit's decision in this case
                                      explained in Kawashima v. Holder, 182 L.Ed 2d 1,10
                                      (2.12.2012) Section 7201 announces two separate and
                                      distinct offenses, not one. I was convicted of the offense of
                                      attempted evasion of payment, not assessment. Gifts are not
                                      exempt from payment of taxes but from an assessment of a
                                      tax liability. Fact Jury was to decide whether payments were
                                      gifts or not shows Count 2, 3, 4 were alleged assessment and
                                      not payment offenses under § 7201. Jury instructed on
                                      different offense
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                                                                                                                                            Could
                                                                                                         Assertion re    Raised in          Have
                                                                                                        Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief          Asserted Grounds for Relief: Facts                              Not Raised Below Prosecution Appeal Raised
 34 The conviction, sentence, and       The Government switched or alleged in Count Four a                Appellate Counsel                Opening      Yes
    judgment on Count Four must         substantial tax liability that hinged on two alleged affirmative     ineffective                  Brief at 7-
    be vacated and set aside for        acts that the § 250,000 transaction between me and Mr.                                            8, 37, 48
    being in violation of the Fifth     Turner did not cause or was not connected to. This in
    and Sixth Amendment.                addition to and in conjunction with the switch in instructions
                                        from evasion of assessment to evasion of payment raised in
                                        Ground Thirty-Three that led to the conviction in Count
                                        Four.
 35 The indictment, conviction,         Count One alleges a conspiracy to defraud the IRS and not         Appellate Counsel   Document    Opening       Yes
    sentence, and judgment on           the offense of evade, defeat "any tax or the payment thereof."       ineffective          260    Brief at 35,
    Count One must be vacated and Count One alleges the unlawful agreement was entered into                                   (stricken)     53
    set aside in violation of the Fifth in 2000, Doc.2, ¶ 19, and alleges its first act in furtherance of
    Amendment Due Process               the conspiracy's object occurred on June 24, 2003, see ¶ 18.
    Clause and in violation of the      The Court determined at sentencing the meeting between Dr.
    statute of limitations set forth at Roberts, Mr. Stilley, and Defendant in late 1999 is where the
    26 U.S.C. § 6531.                   common cause began. 26 U.S.C. § 6531 provides a Three
                                        Year statute of limitations unless the "object of the
                                        conspiracy is to attempt in any manner" to evade or defeat
                                        any tax or the payment thereof." The Jury was improperly
                                        instructed as to the overt acts and their time periods as the
                                        late 1999 or 2000 agreement alleged was not filed within §
                                        6531's 3 year limitation. Alternatively the Jury was
                                        improperly instructed as to the overt acts they must
                                        unanimously decide within Three years from the date of
                                        indictment.




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                                                                                                                                         Could
                                                                                                      Assertion re    Raised in          Have
                                                                                                     Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 36 The indictment, conviction,        Count Two alleged attempted tax evasion beginning in        Appellate Counsel      Document    Opening       Yes
    sentence, and judgment on          Calendar and Tax Year 2000 and for Tax Year 2000. The          ineffective             260    Brief at 35,
    Count Two must be vacated and offense conduct alleged affirmative acts of attempted evasion                           (stricken)     53
    set aside for being in violation of assessment but the Court at the direction of the
    of the Six Year Statute of         Government switched the offense to attempted evasion of
    limitation and in violation of the payment. Ground 33 is incorporated herein as if set forth
    Fifth Amendment Due Process word for word. The prosecution must be brought within Six
    clause.                            Years of the completion of the offense, which for attempted
                                       evasion of assessment is April 15, 2001 in Count Two. Count
                                       Two under 26 U.S.C. § 6531(2) must be brought prior to
                                       April 15, 2007. It was filed on March 10, 2009 or more than
                                       6 years.

 37 The referral proffered,           I moved to dismiss based upon selective prosecution claims Acknowledges that Document               No        Yes
    indictment, conviction,           that the U.S. Attorney in conclusory fashion opposed and the       this was raised    65 and 66
    sentencing, and judgment on all District Judge denied finding I had not presented any                below. Asserts
    Six Counts must be vacated and evidence to support my claim. Sometime in 2012, the Press               government
    set aside for being the work      released information it had obtained from the Commissioner withheld evidence
    product of impermissive           of Internal Revenue that more than 33,000 people were not       or had not compiled
    selective prosecution in          referred or criminally charged with tax evasion during the      the information in a
    violation of equal protections of time period of 2009 through 2011. I was never made aware of manner that made it
    the law and Due Process under such offer or made such offer by any proper officer of the              discoverable.
    the Fifth Amendment.              United States. Another new release reported that almost 2.5 Appellate otherwise
                                      million people filed false and fraudulent Tax Returns. It is     was ineffective for
                                      widely reported over 13 Million illegals reside and earn         failing to raise and
                                      income in the United States not filing tax returns or pay       this deficiency was
                                      taxes. Almost all illegal drug dealers neither report or pay on      prejudicial.
                                      i

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                                                                                                                                        Could
                                                                                                     Assertion re    Raised in          Have
                                                                                                    Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                            Not Raised Below Prosecution Appeal Raised
 38 The indictment, conviction,      The indictment, conviction, sentence, and judgment were          I was not given   Documents Opening          Yes
    sentence, judgment, and          each obtained based on the element of willfully which was        notice that Form   65, 66 and Brief at 12-
    affirmance by the Tenth Circuit inexorably linked to Form 1040. The Tenth Circuit divorced 1040 was divorced            396       19, 53
    on appeal, must be vacated and Form 1040 from any offense conduct related to all Six           from the Six Counts (Transcript
    set aside for being obtained and Counts and both 26 U.S.C. §§ 6012 and 7203. Many other        offense conduct so I      of
    maintained in violation of the   cases brought by the Government and even some heard on        was misled. In fact, Testimony
    Fifth Amendment Due Process appeal inexorably linked Form 1040 to the offense conduct            I was specifically on 11/12/09
    clause, and equal protections.   both at the District Court stages and on appeal. Switching to led Form 1040 was at p. 2853)
                                     divorced shows even more evidence of selective prosecution. at the heart of each
                                                                                                           Count.




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                                                                                                                                   Could
                                                                                                Assertion re    Raised in          Have
                                                                                               Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief       Asserted Grounds for Relief: Facts                        Not Raised Below Prosecution Appeal Raised
 39 The sentence and judgment on I relied upon the Grand Jury's alleged offenses conduct based Appellate Counsel Document      Opening       Yes
    all Six Counts respectively must on Form 1040 U.S. Individual Income Tax Return being            ineffective     396 -    Brief at 45-
    be vacated and set aside being inexorably linked to each Count and including the obligation                  (Transcript      53
    in violation of the Eighth       alleged in Counts Two, Three, and Four to return any tax due                      of
    Amendment as cruel and           and owing. The Secretary of the Treasury and CIR instructs                   Testimony
    unusual punishment               the public that unless Form 1040 complies with the PRA not                  on 11/12/09
                                     to provide the information for or sought on that Form. In                    at p. 2853)
                                     addition to Ground 31's claim of "entrapment by estoppel"
                                     defense, the Sentencing Judge should have taken into
                                     consideration the 1040 instructions under its 3553 factors and
                                     downward departed. Instead, the Court sentenced me to 15
                                     years in prison running Counts One, Two and Three,
                                     consecutive to each other and concurrent with Counts Four,
                                     Five and Six. For a Tax System the CIR says is so complex
                                     in the 1040 instructions, and where millions are not ever
                                     criminally charged for filing false and fraudulent returns, and
                                     evading Taxes, See Grounds 37 and 38, imposing a 15 year
                                     sentence and almost § 700,000 in restitution on these facts
                                     seems simply cruel and unusal [sic].




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                                                                                                                                     Could
                                                                                                  Assertion re    Raised in          Have
                                                                                                 Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief       Asserted Grounds for Relief: Facts                          Not Raised Below Prosecution Appeal Raised
 40 The referral, indictment,       I did exactly what Congress, The Secretary of Treasury and       I was not given   Documents Opening        Yes
    conviction, and sentence on all CIR instructs the public to do when a information collection     notice that Form  65 and 66 Brief at 14-
    Six Counts must be vacated and like Form 1040, is circulated to the public and does not        1040 was divorced              23; Reply
    set aside being in violation of provide the information required by the PRA. I had            from the Six Counts            Brief at 19-
    the First Amendment Right to developed a public accessable [sic] for free web page that       offense conduct so I                24
    both Freedom of Speech,         exposed the PRA violations on Form 1040. The Grand Jury was misled. In fact,
    Freedom to Assocate [sic], and alleged my ministry intended to get rid of the IRS. Agent        I was specifically
    Freedom of Religious Exercise. Miller testified Bondage Breaker's Ministry was a business to led Form 1040 was
                                    get rid of the IRS. The Sentencing Judge found I had received at the heart of each
                                    to [sic] numerous to count donations. The decision to pursue          Count.
                                    and prosecute me was selective and based upon my
                                    outspoken and very public speech, association with others,
                                    including attorneys, intending to chill any discussion
                                    regarding the PRA and Form 1040. Also, entrapment by
                                    estoppel in Grounds 31 plays a significant role.




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                                                                                                                                          Could
                                                                                                       Assertion re    Raised in          Have
                                                                                                      Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                              Not Raised Below Prosecution Appeal Raised
 41 The indictment, conviction,     The tax system today is far more advanced than it was when       Appellate Counsel   Documents Opening        Yes
    sentence and judgment on all    the 1927 decision in U.S. v. Sullivan, 274 U.S. 259 (1927)          ineffective      59 and 60 Brief at 15-
    Six Counts must be vacated and was made. Today, the United States used the information it                                        19, 23
    set aside being in violation of gathers for far more than to determine a tax liability on Form
    the Fifth Amendment Due         1040. Sometime in 2006-07 the Tax Division began a "tax-
    Process clause and Self-        defier" initiatve [sic] which expanded use of information
    incrimination Clause.           sought on Form 1040 beyond that of calculating taxes. The
                                    current use of the information on Form 1040 is not disclosed
                                    on the Form 1040 and there is no mention of how the
                                    information would be used regarding persons recognized by
                                    the IRS as in business to get rid of them as required by 44
                                    U.S.C. § 3506(c)(1)(B)(iii)(II). Any admission of any
                                    payment or source clearly under the Governments view of
                                    my business from 2000 to present would be incriminating to
                                    me.




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                                                                                                                                       Could
                                                                                                    Assertion re    Raised in          Have
                                                                                                   Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief          Asserted Grounds for Relief: Facts                         Not Raised Below Prosecution Appeal Raised
 42 The sentence was almost doublt Todd Gollihare recommended I be given approximately 8          Appellate Counsel          Opening       Yes
    [sic] of what the PSR           years in prison, and the Trial and Sentencing Judge almost       ineffective            Brief at 45-
    receommended [sic] in violation doubled to 180 months. The Sentence is inconsistent with                                    53
    of the Fifth Amendment Due      other sentences involving similar facts in Tax prosecutions.
    Process clause and equal        Notwithwithstanding [sic] the millions apparently who have
    protection component.           not even been with Title 26 crime for filing false and
                                    fraudulent tax returns, or the 33,000 who were not charged
                                    with evasion about shipping money overseas and hiding it
                                    there, I point out in Ground 37, in Ground 38 I point out Mr.
                                    McGinness's case in the Northern District recently and would
                                    also draw this Court's attention to U.S. v. Schiff, 379 F.3d
                                    621 (9th Cir. 2004) where Mr. Schiff, for his second
                                    conviction of tax crimes had over $ 4.2 million in loss or
                                    restitution advising others by book not to pay taxes received
                                    12 years and 11 contempt citations.

 43 The sentence and judgment on       The Grand Jury did not indict me in Counts Five and Six for Appellate Counsel         Opening       Yes
    Counts Five and Six involving      willful failure to pay any tax for years 2002 and 2004. They   ineffective           Brief at 45-
    tax loss and restitution to both   charged me with willful failure to make or file an individual                            53
    the United States and State of     income tax return identified by the Grand Jury as Form 1040.
    Oklahoma must be vacated, set      The Jury's verdict on these Two Counts did not find, or was
    aside, and corrected, for being    asked to find, any tax liability was owed for years 2002 and
    in violation of the Fifth and      2004. The Sentencing Judge reiled [sic] upon the "gross
    Sixth Amendment.                   income'' argued by the Government to then calculate 20% for
                                       those years its Tax Loss calculations. The Court then used
                                       these same amounts to order restitution as far as I can tell.




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                                                                                                                                             Could
                                                                                                          Assertion re    Raised in          Have
                                                                                                         Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                                Not Raised Below Prosecution Appeal Raised
 44 The sentence and judgment as The Sentencing Commission advises this Court that "tax                 Appellate Counsel          Opening       Yes
    to Counts Two, Three, and        loss" only includes interest and penalties in notes under             ineffective            Brief at 45-
    Four, must vacated, set aside,   USSG 2T1.1. for "evasion of payment" cases under §§ 7201                                         53
    and corrected being              and 7203. As far as I can tell the Court used interest and
    unreasonable and in violation of penalties to calculate its total income which it then multiplied
    the Fifth Amendment Due          by 20% to arive [sic] at almost $ 300,000.00 in "tax loss".
    Process clause.                  The Court's total "tax loss" was totalled [sic] to be just
                                     slightly over $ 1 Million which triggered a base offense of 22
                                     points. Had the Court not used interest and penalty 20% of a
                                     little over $ 1 Million would be a little over$ 200,000.00 in
                                     the Court's Tax Loss calculations attributable to me before it
                                     added Stilleys and Turners leaving my "total" loss numbers
                                     to be less than $1 Million and in the Tax Table at 20 instead
                                     of 22 resulting in a range of 121 to 151 months. By removing
                                     Turner's $ 250,000 the tax loss also drops significantly.
                                     Reducing the amount by Hedberge's $ 111,000 reduces the
                                     amount even more.
 45 The indictment, conviction,      The Tenth Circuit affirmed each of the Six Counts of               This Ground could          Opening       Yes
    sentence, and judgment must be Conviction only after broadening the Grand Jury's offense                not have been         Brief at 45-
    vacated and set aside on all Six conduct to exclude specified Form 1040. The Tenth Circuit          raised on appeal as           53
    Counts for being in violation of also affirmed each Count on a theory of law not presented to       it evolved from the
    the Fifth Amendment Due          the Grand Jury, me, the Petit Jury, or Trial Judge, and that is       Tenth Circuit's
    Process Clause.                  unsupported by Congress's own choice of statutory language            decision dated
                                                                                                              10.26.11.




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                                                                                                                                        Could
                                                                                                     Assertion re    Raised in          Have
                                                                                                    Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                            Not Raised Below Prosecution Appeal Raised
 46 The indictment, conviction,       The Grand Jury alleged each Count hinged-either on me          Appellate Counsel        Opening       Yes
    sentence, and judgment on all being required by law, or required to file a Form 1040 United         ineffective          Brief at 12-
    Six Counts is in violation of the States Individual Income Tax Return, or refraining from                                 13; Reply
    Fifth Amendment Due Process filing Form 1040s and the Government argued the                                              Brief at 15-
    clause.                           requirement to file Form 1040 Tax Returns does not involve                                  18
                                      Treasury Regulations in their case in chief. After the First
                                      Bill of Particulars and the Government Trial Brief referred to
                                      26 U.S.C. §§ 6011, 7203, or "regulations thereunder," the
                                      Trial Judge ordered a Second Bill of Particulars requiring
                                      disclosure of all regulations triggering the duties and
                                      obligations at issue in each Count. After Trial, the Court
                                      denied my Motion for New Trial regarding its Jury
                                      instruction on Form 1040 and the PRA holding the
                                      requirement to file is not a regulatory requirement. However,
                                      the Tenth Circuit on appeal held the requirement to file is
                                      governed 26 CFR 1.6091-2 quoting the 2005 version and 26
                                      U.S.C. § 6091(a)'s regulatory command of Congress to the
                                      Secretary. The Jury's verdict on willful elements is invalid.




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                                                                                                                                          Could
                                                                                                       Assertion re    Raised in          Have
                                                                                                      Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 47 The conviction, sentence, and Congress directs ''Tax Returns" are to be delivered according This Ground could               Opening       Yes
    judgment as to all Six Counts        to 26 U.S.C. § 6091(b), not § 6091(a). The Tenth Circuit held    not have been        Brief at 10-
    must be vacated and set aside in otherwise. In its ruling the Tenth Circuit identified Treasury raised on appeal as         13; Reply
    violation of Article I, § 9, Cl. 3's Regulation they relied upon in upholding the jury verdict on it evolved from the      Brief at 15-
    Ex Post Fact Clause and Fifth each Count was 26 CFR § 1.6091-2 with the exact words                  Tenth Circuit's            18
    Amendment Due Process                from the 2005 version. The Grand Jury proffered referral was    decision dated
    clause.                              for Calendar and Tax Year 2000 through 2004. The Grand             10.26.11.
                                         Jury's offense conduct in each Count began in the year 2000
                                         and only Count Four and part of Count Six could be affected
                                         by the 2005 changes to 1.6091-2. 26 CFR § 1.6091-2 (2000
                                         through 2004) required deliver of Form 1040 to the district
                                         director office in Baltimore Maryland, which the Tenth
                                         Circuit said was abolished. In 1998. All Six Counts are
                                         specific intent charges.




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                                                                                                                                        Could
                                                                                                     Assertion re    Raised in          Have
                                                                                                    Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                            Not Raised Below Prosecution Appeal Raised
 48 The conviction, sentence, and I made the Court aware of my defense regarding donations           Appellate Counsel   Documents Opening         Yes
    judgment as to all Six Counts   and gifts at Doc. 55,56, and the Duberstein decision by the         ineffective      53, 54 and Brief at 35-
    must be vacated and set aside   Supreme Court in 1960. The term donation appears in Count                               262     37 and 39-
    being in violation of the Fifth One's allegations. The Court waited to define "gift" during                                         45
    Amendment Due Process clause Trial. The Tenth Circuit agreed "gift" is not defined by
    and Article I, § 9, Cl. 3's     Congress. No mention of "donation" appears in the Appeal
    prohibition of Ex Post Facto    order. I was unaware of the Court's definition of gift until
    Laws.                           trial. I was also unaware of the Court's all or none treatment
                                    of each transaction at issue for the Jury to consider at the
                                    times the transaction occurred. I would not have proceeded
                                    on the term "gift" had I known of the Court's definition. I also
                                    would have consulted Counsel on the meaning of gift or
                                    donation prior to participating in any such transactions. I
                                    never waived my Sixth Amendment Right to Counsel
                                    knowing the Court's definitions. I certainly would not have
                                    gone to trial or planned a defense knowing the Court's
                                    meaning.




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                                                                                                                                        Could
                                                                                                     Assertion re    Raised in          Have
                                                                                                    Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                            Not Raised Below Prosecution Appeal Raised
 49 The indictment, conviction,     The Government was allowed to say and do whatever it           Either this Ground     No    No       No
    sentence, and judgment on all wanted for over 5 years, presenting number of witnesses,         was not available to
    Six Counts must be vacated and many Grand Juries, a Three week Trial, Three day sentencing         Counsel or
    set aside being in violation of hearing, all of which created thousands of pages of            Appellate Counsel
    the Fifth Amendment Due         transcripts, hundreds of docket entries, and the Tenth Circuit   was ineffective
    Process clause and its equal    prohibited Mr. Barringer from exceeding 14,000 words in my
    protection component.           direct appeal. The Tenth Circuit then refused to address
                                    issues not fully developed, without identifying what they
                                    were. Had Mr. Barringer not been limited to 14,000 words,
                                    he could have more fully developed the issues which would
                                    have produced a different outcome on the appeal. I am unable
                                    to say what those issues would have been without the benefit
                                    of Counsel. However. I claim for purpose of this Ground that
                                    all the Grounds raised 1 through 76 are Grounds that either
                                    should have been raised or were not evolved yet due to the
                                    Tenth Circuit's decision changing so many issues below.




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                                                                                                                                     Could
                                                                                                  Assertion re    Raised in          Have
                                                                                                 Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief       Asserted Grounds for Relief: Facts                          Not Raised Below Prosecution Appeal Raised
 50 The indictment, convictions,    I sought a 50 page extension to file Memorandum Brief in of This Ground was Documents Opening               Yes
    sentence, and judgment on all this Motion to which Judge Friot denied on January 4, 2013. I not available as it    53 and 54 Brief at 14-
    Six Counts are in violation of  sought through Appellate Counsel permission to file an          derives from the                 23
    the Powers enumerated to the    appeal brief not to exceed 28,000 words and was denied. The Court's decision to
    United States by the            Tenth Circuit used the fact my appeal brief failed to fully    limit the length of
    Constitution and render the     develope [sic] my issues on appeal limiting its ruling to 8    my Memorandum
    United States' power to make    issues and in those 8 issues it pointed to defects in how the  in this proceeding
    anything a crime vacated due to issue was framed, shaped, or shown, leading to how it           and derives from
    suspending my rights to a full ultimately ruled. The Tenth Circuit has for 6 years refused to events occurring in
    and fair appeal and my right to address the merits of my public protection claims regarding   the Tenth Circuit's
    seek a Writ of Habeas Corpus Form 1040's obvious defects regarding the Paperwork                    decision.
    fully and fairly.               Reduction Act mandates of Congress.




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                                                                                                                                            Could
                                                                                                         Assertion re    Raised in          Have
                                                                                                        Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                               Not Raised Below Prosecution Appeal Raised
 51 The referral, indictment,         Congress, in the Restructuring and Reform Act of 1998, at § Either this Ground               Opening      Yes
    conviction, sentence, and         3445, amended 26 U.S.C. § 6334(e)(2) by directing certain        was not available to       Brief at 8-
    judgment on all Six Counts        levy issues be performed only by "district director or district      Counsel or                 12
    must be vacated and set aside     director of the IRS". The Tenth Circuit held in my direct        Appellate Counsel
    being in violation of the Fifth   appeal that §1001 of the same Restructuring and Reform Act         was ineffective
    Amendment.                        abolished the posit- [sic] of district director and the place of
                                      Internal Revenue Districts, called for by 26 U.S.C. §§ 7514
                                      and 7621. The President is still required to establish
                                      convenient Internal Revenue Districts and the Secretary is
                                      still required to establish by seal office of district directors
                                      notwithstanding the Restructuring and Reform Act. Congress
                                      relies upon the districts called for at § 7621 for where "Tax
                                      Returns" are required to be filed at 26 U.S.C. § 6091(b), and
                                      the authority to canvas such districts at 26 U.S.C. § 7601.
                                      The Tenth Circuit did however find no such districts or
                                      directors existed for all relevant times of the indictment per-
                                      se. Recently, the Tenth Circuit held the IRS is existing under
                                      26 CFR § 601.101 which implicates both districts and
                                      directors.




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                                                                                                                                           Could
                                                                                                        Assertion re    Raised in          Have
                                                                                                       Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief          Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 52 The conviction, sentence and       In June, 1998, Congress enacted the Restructuring and           I was misled into    Documents Opening         Yes
    judgment, on all Six Counts        Reform Act of 1998. On January 26, 2004, a low level             believing Donna     74, 75 and Brief at 23,
    must be vacated and set aside      official named Donna Meadors issued a "Summons" to me              Meadors was          144       26-27;
    due to being in violation of the   and Bondage Breaker's Ministries under a name of "Area          authorized as she               Reply Brief
    Fifth Amendment Due Process.       Director" without having obtained from an "appropriate high-       appeared with                  at 7-11
                                       level Treasury official" in writing that such official          Michael Gregory
                                       "reasonably believes" my ministry may be in violation, as       and at no time did
                                       stated in 26 U.S.C. § 7611(a)(2)(A) and (B), carrying on an      either inform me
                                       unrelated trade or business, or otherwise engaged in activities they had not been
                                       subject to taxation under Title 26. Since 1998, or soon          authorized by an
                                       thereafter, no such "appropriate high-level Treasury official" "appropriate high
                                       has existed to authorize the summons power regarding              level Treasury-
                                       Bondage Breaker's Ministries. Recently, the IRS disclosed            official"
                                       publicly no such treasury official existed satisfying the rule
                                       on ministry audits. Mr. Shern relied upon Ms. Meadors
                                       unlawfully obtained information to obtain a search warrant
                                       on September 15, 2005. The fruits of the Search were relied
                                       upon at Trial.




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                                                                                                                                        Could
                                                                                                     Assertion re    Raised in          Have
                                                                                                    Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief          Asserted Grounds for Relief: Facts                          Not Raised Below Prosecution Appeal Raised
 53 The conviction on all Six couts    The Trial Judge, over my objection, allowed Agent Brian        Appellate Counsel Document     Opening      Yes
    [sic] must be vacated and set      Miller, to summarize to the jury what it had heard as a 13th      ineffective    150 and 168 Brief at 37
    aside for being in violation of    Juror. Miller's testimony as to whether Count Four's
    Sixth Amendment Right to a         $250,000.00 transaction between me and Mr. Turner was
    Jury Trial.                        treated as Gross Income in 2005 influenced the Jury
                                       improperly and no other person testified about the transaction
                                       but Mr. Turner and myself. Even if the transaction became
                                       income when I stopped being able to make payments in 2008,
                                       the $250,000.00 would never have been considered income in
                                       2005 under case law I am aware of. A summary witness
                                       should not be able to decide for a jury at trial whether a
                                       transaction is or is not a loan the way Miller did. Count Four
                                       has no duty to file a tax return without the $250,000 as
                                       income.

 54 Conviction on Counts One,          The Trial Judge gave the Jury an instruction, on its duty to Appellate Counsel                   No        Yes
    Two, Three, and Four must be       deliberate and that after the Jury was deadlocked over two      ineffective
    vacated and set aside, for being   days he gave the Jury an Allen instruction which immediately
    in violation of the Fifth          resulted in a verdict of guilty on all Counts. After almost
    Amendment Due Process              three days of being hung the Court should have declared the
    clause.                            jury hung and proceeded according to that decision.




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                                                                                                                                         Could
                                                                                                      Assertion re    Raised in          Have
                                                                                                     Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 55 The sentence and judgment of After I was sentenced to 15 years and ordered to pay over $        Either this Ground         Opening       Yes
    15 years on all Six Counts must 770,000, the Northern Judicial District sentenced Mr.           was not available to      Brief at 45-
    be vacated and set aside, and    McGinness of the HOW foundation to 15 months and                   Counsel or                53
    corrected, being in violation of ordered him to pay over $300,000 in restitution to the IRS.    Appellate Counsel
    the Fifth Amendment Due          McGinness filed false tax returns for at least 8 years on        was ineffective
    Process clause and its equal     information and belief failing to report more than $ 1.4
    protection component.            million. This information was reported in the Tulsa World
                                     News Paper. I exercised my right to a Jury Trial. McGinness
                                     chose a Judge Trial where he was the only witness pleaing
                                     [sic] guilty to the best of my knowledge and belief.
                                     Exercising a Fifth and Sixth Amendment right to Jury Trial
                                     does not warrant Ten times the sentence of one who does not.
                                     The sentence is also contrary to 18 U.S.C. § 3553(a)(6) and is
                                     unwarranted.




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                                                                                                                                    Could
                                                                                                 Assertion re    Raised in          Have
                                                                                                Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief       Asserted Grounds for Relief: Facts                         Not Raised Below Prosecution Appeal Raised
 56 The conviction, sentence and    The Trial Judge's jury instruction on the meaning of income Appellate Counsel   Document  Opening       Yes
    judgment, on all Six Counts     and gift led to a result contrary to the law. The Judge at trial ineffective      262    Brief at 35-
    must be vacated and set aside   directed the jury, and at sentencing relied upon his same                                    37
    being in violation of the Fifth direction, that if I did anything for anyone that gave me
    Amendment Due Process clause money whether the anything occurred before or after the
    and its equal protection        money was given, and with no time limitations, that that
    component involving the tax     money was entirely taxable gross income. However, if I did
    laws of the United States.      nothing for that money then, and only then, was that
                                    transaction entirely excludable. Because the Court
                                    acknowledged I received donations for my mission, the all or
                                    none, or in for a penny, in for a pound approach, produced
                                    results that could not be produced in Tax Court. The
                                    sentencing judge relied upon the errant instruction to the jury
                                    to fix both tax loss and restitution. The "tax imposed" does
                                    not change in a criminal case.




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                                                                                                                                            Could
                                                                                                         Assertion re    Raised in          Have
                                                                                                        Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                                Not Raised Below Prosecution Appeal Raised
 57 The conviction, sentence, and    On April 22, 2009, the Trial Judge, for purpose of that stage     Appellate Counsel          Opening       Yes
    judgment on all Six Counts       of the case, accepted my waiver of Counsel "subject to the           ineffective            Brief at 39-
    must be vacated and set aside    limitations you have described." I did not understand the                                    45; Reply
    being in violation of my Sixth   offenses in Counts Two, Three, or Four were evasion of                                      Brief at 26-
    Amendment Right to Counsel.      payment or assessment or how one could go for 9 years. I                                         27
                                     also was never informed the offense conduct was divorced
                                     from Form 1040 in each Count. I further did not understand
                                     the requirement to deliver a ''Tax Return" fell under 26
                                     U.S.C. § 6091(a), instead of § 6091(b), where Congress
                                     placed it. I did not understand 26 CFR § 1.6091-2(2005)
                                     applied to years 2000 through 2004 in light of 26 U.S.C. §
                                     7805(b)'s prohibition against retroactive application of
                                     Treasury Regulations. At no time prior to Trial did the Court
                                     inform me that it had found Form 1040 did not violate the
                                     PRA which highly prejudiced my choice on which of my
                                     defense options for Trial I chose. The Court also did not
                                     provide its definition of gift or donation prior to Trial which
                                     also prejudiced my choice on how to proceed at trial. I did
                                     not voluntarily, knowingly, and intelligently waive my Sixth
                                     Amendment right to Trial Counsel.




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                                                                                                                                         Could
                                                                                                      Assertion re    Raised in          Have
                                                                                                     Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 58 The conviction, sentence, and    At hearing on 4.22.09 Trial Judge conditionally accepted a       Appellate Counsel        Opening       Yes
    judgment on all Six Counts       waiver of Counsel from me "subject to the limitations you           ineffective          Brief at 39-
    must be vacated and set aside    have described." The limitation described was that I did not                              45; Reply
    being in violation of my Sixth   understand whether Counts 2, 3, and 4, were the assessment                               Brief at 26-
    Amendment Right to Counsel.      offense or payment offense under Section 7201 and how an                                      27
                                     offense could go for Nine years. The Court should have fully
                                     probed and settled this limitation. The Court's failure to do so
                                     caused shift-positions detrimental to my decisions of defense
                                     misleading me into (1) the Form 1040 was inexorably linked
                                     to the issues in each Count; (2) the requirement to file a Form
                                     1040 ''Tax Return" derived under 26 U.S.C. § 6091(b), not §
                                     6091(a); (3) 26 CFR § 1.6091-2 for any year was not relied
                                     upon to prove the Government 's case in chief; ( 4) amounts
                                     shown owed were due according to 26 U.S.C. § 6151; (5) the
                                     offenses contained a lessor included under § 7203; (6)
                                     affirmative acts being the type regarding assessment while
                                     the Court's jury instructions directed the payment offense.
                                     The Court's limited waiver was lost either before or during
                                     trial when it switched the offense to payment.




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                                                                                                                                              Could
                                                                                                           Assertion re    Raised in          Have
                                                                                                          Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief          Asserted Grounds for Relief: Facts                                Not Raised Below Prosecution Appeal Raised
 59 The referral, indictment,         Mr. Barringer represented me in my appeal, 10-5055.              Ground 59 was          No      No      Yes
    conviction, sentence, and         Barringer's brief had prejdicial [sic] error identified by the   unavailable as it
    judgment as to all Six Counts     Court in its order dated 10.26.11. Barringer was suspended        evolved from
    that were affirmed on Appeal, on September 2, 2011 from practice in the Tenth Circuit.            Appellate Counsel
    were affirmed in violation of the Barringer was removed from my criminal appeal as noted in and Court conduct
    Fifth Amendment Process           the October 26, 2011 decision. Barringer should have raised       during appeal
    clause and equal protection       or fully developed Grounds 1 to 14, 28 to 44, 48, 51 to 54, 56      process.
    component, and the Six            to 58, 60 to 66. Had these grounds been raised, or raised
    Amendment Right to effective differently, it is reasonably probable the outcome of my
    Appellate Counsel.                Appeal would have been different and in my favor.
                                      Performance was deficient and prejudicial to my interest in
                                      liberty, property, this case and my appeal, and as expressed in
                                      orders by the Tenth Circuit in this case, 10-5037 and In re:
                                      Barringer 11-816.

 60 The conviction, sentence, and      On December 15, 2010, Mr. Barringer was notified that his          Ground 60 was       No      No      Yes
    judgment as to all Six Counts      arguments and statements in a civil case he represented were       unavailable as it
    was affirmed on Appeal in          frivolous without merit. Barringer was suspended on                 evolved from
    violation of the Fifth and Sixth   September 2, 2011 by the Tenth Circuit in 11-816. In its          Appellate Counsel
    Amendments.                        order in 10-5037, repeated in its order opening 11-816, the       and Court conduct
                                       Tenth Circuit cited to conduct presented in my criminal             during appeal
                                       appeal, 10-5055. A conflict arose between my interests and             process.
                                       Barringers [sic] caused by the orders in 10-5037 and 11-816.
                                       I had a Sixth Amendment right to conflict free Criminal
                                       appelate [sic] counsel. As a result of Barringer's suspension I
                                       was left with standing before the Tenth Circuit "pro-se"
                                       which was not my will in my only right to a criminal appeal
                                       by Sixth Amendment Counsel as a right. I incorporate
                                       Ground 49 as if set forth herein word for word.

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                                                                                                                                         Could
                                                                                                      Assertion re    Raised in          Have
                                                                                                     Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief          Asserted Grounds for Relief: Facts                           Not Raised Below Prosecution Appeal Raised
 61 The conviction, sentence and       The Tenth Circuit suspended Mr. Barringer based upon          Ground 61 was       No      No       No
    judgment must be vacated and       representations he made in 10-5037 and 10-5055, which is      unavailable as it
    set aside and restored to the      my criminal appeal number. After suspending Barringer, the     evolved from
    point that I may appeal the        Tenth Circuit should have appointed me Sixth Amendment       Appellate Counsel
    issues stemming from the           Counsel instead of holding me as pro-se and liable for       and Court conduct
    District Court Proceedings due     Barringer's briefs. The Tenth Circuit even went so far as to   during appeal
    to the Tenth Circuit's             issues not addressed were waived. There were other problems       process.
    suspension of Mr. Barringer,       not addressed by the October 26, 2011 order with the brief,
    due to the October 26, 2011        for instance, page 29 through 35. Had Counsel been
    order in 10-5055 holding me        appointed the outcome would have been different.
    liable for Mr. Barringer's brief
    and pro-se. The October 26,
    2011 decision was entered in
    violation of the Fifth and Sixth
    Amendment.




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                                                                                                                                    Could
                                                                                                 Assertion re    Raised in          Have
                                                                                                Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief       Asserted Grounds for Relief: Facts                         Not Raised Below Prosecution Appeal Raised
 62 The indictment, conviction.     Brian Shern knowingly and recklessly gave false, misleading Appellate Counsel   Documents     Opening      Yes
    sentence, and judgment on all and fraudulent information in his proferred [sic] affidavit for   ineffective     51, 74 and   Brief at 9-
    Six Counts must be vacated and the Search Warrant he sought by explaining a Patterson                               75       10, 23-29,
    set aside being in violation of criminal investigation was expanded to include me. Had                                         31, 51;
    the Fourth and Fifth            Shern informed Magistrate McCarthy of the June 3, 2005                                       Reply Brief
    Amendments.                     proferred [sic] referral, which specifically names him on page                                 at 1-11
                                    2, Magistrate McCarthy would have been unable and
                                    unauthorized in issuing a Search Warrant for an IRS criminal
                                    investigation being fuly [sic] informed of U.S. v. LaSalle,
                                    437 U.S. 298, 308-317 (1978) and that upon Grand Jury
                                    referral the IRS loses its enforcement power, including Title
                                    26 § 7608(b). Shern and the other IRS agents had no
                                    Congressional Authority to gather information for the U.S.
                                    Attorney or Grand Jury under § 7608(b) after June 3, 2005.
                                    The June 3, 2005 proferred [sic] referral proves the falsity of
                                    Shern's authority by preponderance of the evidence standard
                                    according to U.S. v. Corral-Corrai, 899 F. 2d 922, 933 (10th.
                                    Cir. 1990) (citing Franks v. De!eware, [sic] 438 U.S. 154,
                                    171 (1978)) A full Franks Hearing was due me in light of the
                                    facts and circumstances.




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                                                                                                                                         Could
                                                                                                      Assertion re    Raised in          Have
                                                                                                     Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 63 The indictment, conviction,        The Constitution only provides a person attain the office of   Appellate Counsel   No     No      Yes
    sentence, and judgment as to all President if that person be a "natural born citizen, or citizen     ineffective
    Six Counts must be vacated and of the United States, at the time of the Adoption of this
    set aside for being in violation Constitution.." For over Four years the person holding office
    of Article II, Section 1, clause 1 of the President of the United States of America is named
    and 6; Art. II, Section 2, clause Barack Hussein Obama, II. Mr. Obama took office on
    3, and Section 3, clause 1, as     January 20, 2009. I was indicted on March 10, 2009
    well as the Fifth, Ninth, and      regarding the laws of the United States the President is to
    Tenth Amendments to the            faithfully execute. Mr. Obama, on information and belief, is
    Constitution of the United         not eligible to hold the Office of President due to his being
    States of America.                 born outside of any of the 50 Tenth Amendment States. The
                                       electors did not select a person eligible and failed to verify
                                       Mr. Obama's place of birth. Without a President of the United
                                       States of America who is a natural born citizen the
                                       Constitution withheld all Executive Powers including
                                       enforcement of the laws of the United States. The
                                       enforcement of the laws the United States against my liberty
                                       and property are unconstitutional.




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                                                                                                                                         Could
                                                                                                      Assertion re    Raised in          Have
                                                                                                     Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 64 The indictment, conviction,       I was indicted on 3.10.09 and arraigned on 3.18.09. I did       Either this Ground   No    No      Yes
    sentence, and judgment on all receive a trial that began on October 26, 2009 and resulted in was not available to
    Six Counts must be vacated and verdicts of Guilty on 11.16.09. I claim the Court impeded the          Counsel or
    setaside [sic] being in violation function of the jury in its consideration of the offenses       Appellate Counsel
    of the Speedy Trial Act.          alleged in each Count by including Stilley's liabilities in      was ineffective
                                      Count One, changing Counts Two, Three and Four to evasion
                                      of payment, instead of evasion of assessment alleged by the
                                      Grand Jury, and the Court instructed the jury factually it
                                      found Form 1040 did not and does not violate the PRA.
                                      Therefore, I have yet to receive a jury trial on the Grand Jury
                                      claims in each Count and the time period has extended almost
                                      4 years. I claim under these facts and circumstances 18
                                      U.S.C. §3161(c)(1) 's "seventy-day" requirement to be tried
                                      on the offenses alleged by the Grand Jury has been extremely
                                      violated.




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                                                                                                                                      Could
                                                                                                   Assertion re    Raised in          Have
                                                                                                  Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief       Asserted Grounds for Relief: Facts                           Not Raised Below Prosecution Appeal Raised
 65 The conviction, sentence, and I was indicted on 3.10.09 and arraigned on 3.18.09. Trial          Either this Ground Document   No   Yes
    judgment on all Six Counts       began on 10.26.09 resulting in verdicts of guilty by jury on    was not available to 262
    must be vacated, set aside being 11.16.09 but only after alleged violations of my First, Fourth,     Counsel or
    in violation of my Sixth         Fifth and Sixth Amendment rights. The Court's instruction to Appellate Counsel
    Amendment Right to a speedy the Jury Form 1040 did not and does not violate the PRA was was ineffective
    Jury Trial.                      over my objections and removed from the Jury consideration
                                     of whether I acted willfully as an element in each of the Six
                                     Counts. The Court also, contrary to the indictment, instructed
                                     the Jury they were to consider whether I willfully attempted
                                     to evade or defeat the payment where the Grand Jury alleged
                                     acts of attempt to evade and defeat assessment which the Jury
                                     was never allowed to consider due to the instructions and
                                     ambiguity. The Grand Jury in Count One alleged overt Acts
                                     involving income allegedly attributable to me but at Trial the
                                     Court, being advised by the Government the Grand Jury
                                     referral was involving my alleged liabilities from "2000
                                     through 2004," expanded Count One to include Stilley's
                                     liabilities based upon ¶14' s claims Stilley refrained from
                                     filing Forms 1040 and 1099 with the IRS. I have not
                                     received a timely Jury Trial on the indictment




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                                                                                                                                        Could
                                                                                                     Assertion re    Raised in          Have
                                                                                                    Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                            Not Raised Below Prosecution Appeal Raised
 66 The conviction, sentence, and Each Ground 1 through 75 are are [sic] realleged as if set        Appellate Counsel     Mixed   Mixed   Yes
    judgment on all Six Counts      forth word for word herein. Each Ground warrants the relief should have raised
    must be vacated and set aside   requested therein. Each Ground collectively, in a cumulative what he could on
    being in violation of the Fifth way, deprived me of Due Process and the entire District and      direct appeal but
    Amendment Due Process clause Appellate Court process was fundamentally unfair. I seek             could not have
    and its equal protection        Nunc Pro Tunc relief. Each Ground taken together                  known how the
    component.                      demonstrates error that affected my substantial rights and has Tenth Circuit would
                                    created a complete miscarriage of justice.                      change the offense
                                                                                                   conduct, the law, or
                                                                                                         the CIR's
                                                                                                    instructions to the
                                                                                                          public.




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                                                                                                                                      Could
                                                                                                   Assertion re    Raised in          Have
                                                                                                  Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief       Asserted Grounds for Relief: Facts                           Not Raised Below Prosecution Appeal Raised
 67 The indictment, conviction,      On April 23, 2010, I was imprisoned primarily due to failing Appellate Counsel   No    Opening       Yes
    sentence and judgment on all     to pay income taxes to the IRS for 1990 to 1995, 1999           ineffective           Brief at 45-
    Six Counts must be vacated, set through 2007 and the Court's "Tax Loss" calculations derived                               53
    aside, or corrected, being in    a majority of the sentencing computations. Count Two,
    violation of the State of        Three, and Four were instructed to the jury as evasion of
    Oklahoma's Constitution which payment offenses. The Court used 20% of unreported
    reserved and prohibits           income in Count Five and Six to further increase the Tax
    imprisonment for debt, thus      Loss. The Court added interest and penalty calculations to its
    violating the Ninth and Tenth    Tax Loss calculations due to Count Two, Three, and Four
    Amendments to the Constitution being payment offenses. The Court sustained its decision to
    of the United States of America. allow the Jury to consider Stilley's tax debt in Count One due
                                     to his alleged failure to file Form 1040. Tax debt is one of
                                     the elements in Count Two, Three, and Four. The State of
                                     Oklahoma reserved for its Citizens never to be imprisoned
                                     for debt at Article 2, § 13. The Ninth and Tenth Amendment
                                     prohibit my imprisonment based upon tax debt and the
                                     Courts base offense of 22 was determined by that alleged
                                     debt.




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                                                                                                                                      Could
                                                                                                   Assertion re    Raised in          Have
                                                                                                  Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief       Asserted Grounds for Relief: Facts                           Not Raised Below Prosecution Appeal Raised
 68 The indictment, sentence,        The decisions by the U.S. District Court in Springer v. U.S.,    I was not given   Documents Opening        Yes
    conviction, and judgment, on all 447 F.Supp.2d 1235, 1238 (N.D.Ok. 2006); and the decisions notice that Form        65 and 66 Brief at 14-
    Six Counts must be vacated and by the Tenth Circuit in U.S. v. Collins, 920 F.2d 619, 631 and 1040 was divorced                23; Reply
    set aside for being in violation n.12 & 13 (10th Cir. 1990), U.S. v. Dawes, 951 F.2d 1189,     from the Six Counts            Brief at 19-
    of the Fifth Amendment Due       1192-93 (10th Cir. 1991), U.S. v. Chisum, 502 F.3d 1237,      offense conduct so I                24
    Process.                         1244 (10th Cir. 2007), Springer v. IRS, 231 Fed. Appx. 793, was misled. In fact,
                                     797 (10th Cir. 2007), Lewis v. CIR, 523 F.3d 1272, 1274         I was specifically
                                     (10th Cir. 2008), Wheeler v. CIR, 528 F.3d 773, 781 (10th      led Form 1040 was
                                     Cir. 2008), Springer v. CIR, 580 F.3d 1142, 1145 (10th Cir. at the heart of each
                                     2009), each either caused me to be entrapped by estoppel, or         Count.
                                     prevented me from making efforts to correct the mistakes
                                     made as a result of my relying on these decisions clearly
                                     implicating that Form 1040 was both and first subject to the
                                     PRA and its protections, and second, use was otherwise
                                     mandatory. The 10.26.11 decision in my appeal never
                                     mentions the relevant parts of the cases above. This claim is
                                     one of Judicial entrappment [sic] by estoppel.




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                                                                                                                                             Could
                                                                                                          Assertion re    Raised in          Have
                                                                                                         Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief           Asserted Grounds for Relief: Facts                              Not Raised Below Prosecution Appeal Raised
 69 The sentence and judgment           Congress prohibits States from imposing any burden of tax            I was not given                 Yes
    ordering restitution to the State   on a person's receipt of obligations of the United States at 31     notice that Form
    of Oklahoma on all Six Counts       U.S.C. § 3124. Congress defines "Obligation or other               1040 was divorced
    is in violation of the Fifth        Security of the United States" at 18 U.S.C. § 8 to include        from the Six Counts
    Amendment Due Process               "Frederal Reserve Notes." [sic] Congress establishes                offense conduct
    clause.                             "Federal Reserve Notes" are created and defined @ 12               misleading me into
                                        U.S.C. § 411 to be redeemable in "lawful money" at any                 a completely
                                        Federal Reserve Bank. Congress does not define "lawful              different defense
                                        money" in Title 12, 18, 26 or 31. The Constitution suggests than ones like this I
                                        though lawful money is coin and with a measurable weight of would have raised
                                        Gold, Silver, or other metals listed in the Coinage Act of              after being
                                        1792. Congress enacted the Security Act of 1933 and the                 counseled.
                                        Securities and Exchage [sic] Act of 1934 defining the term
                                        "Security" to mean any "note." All Federal Reserve Notes
                                        state "this note is legal tender for all debts" thus qualify as a
                                        Security. Congress at 26 U.S.C. § 165(g) provides a
                                        deduction from gross income involving worthless securities.
                                        All transactions involved in the Six Counts were measured by
                                        or in denominations of Federal Reserve Notes.




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                                                                                                                                          Could
                                                                                                       Assertion re    Raised in          Have
                                                                                                      Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 70 The referral, indictment,         All transactions the Government relied upon in obtaining a       I was not given                    Yes
    conviction, sentence, and         referral, indictment, conviction, sentence, and judgment,       notice that Form
    judgment on all Six Counts        were based upon or measured by Federal Reserve Notes.          1040 was divorced
    must be vacated, set aside, and   There is a couple transactions where I received Gold or       from the Six Counts
    corrected being in violation of   Silver coins. Federal Reserve notes are not redeemable in       offense conduct
    Fifth Amendment.                  lawful money at any Federal Reserve Bank as Congress           misleading me into
                                      require at 12 U.S.C. § 411. Until a person exchanges a             a completely
                                      certain denomination of Federal Reserve Notes for something different defense
                                      else, that person, like me, has not received anything of      than ones like this I
                                      "value" yet. Congress considers notes received that were or    would have raised
                                      became worthless during a tax year to be deductable [sic]           after being
                                      from gross income for that year at 26 U.S.C. § 165(g). 18           counseled.
                                      U.S.C. § 8 defines Obligation or other Security of the United
                                      States to include Federal Reserve Notes. Congress exempts
                                      Obligations of the United States from State taxation. Federal
                                      Reserve Notes are a promise to pay and until payment takes
                                      place they have no reliable set value.




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                                                                                                                                           Could
                                                                                                        Assertion re    Raised in          Have
                                                                                                       Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                               Not Raised Below Prosecution Appeal Raised
 71 The sentence and judgment on     Due to being misled about the offense conduct by the Grand          I was not given         Opening      Yes
    all Six Counts must be           Jury indictment, I elected to waive my Fifth Amendment             notice that Form        Brief at 52
    corrected where the Court        Right and testify at the trial I attended. Prior to testifying I  1040 was divorced
    enhanced under USSG 3C1.1        was required to provide a profer [sic] of my testimony on        from the Six Counts
    finding I gave false testimony   good faith. At Trial I looked the Jury square in the eyeballs      offense conduct
    regarding Form 1040.             and told them I did not willfully fail to file a Form 1040 for    misleading me into
                                     any year at issue. The Court instructed the Jury it had found         a completely
                                     Form 1040 did not violate the PRA in violation of my right to different defense
                                     a "jury" trial, on all elements, including willfully. At         than ones like this I
                                     sentencing the District Court added 2 points for obstruction      would have raised
                                     of justice finding when I told the Jury I did not willfully fail       after being
                                     to file Form 1040 that was "categorically false." The Tenth            counseled.
                                     Circuit on appeal held Form 1040 was "divorced" from all
                                     offense conduct as well as from 26 U.S.C. § 6012. I could not
                                     have willfully failed to file Form 1040 if Form 1040 was
                                     "divorced" from the charges.




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                                                                                                                                       Could
                                                                                                    Assertion re    Raised in          Have
                                                                                                   Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief       Asserted Grounds for Relief: Facts                            Not Raised Below Prosecution Appeal Raised
 72 The entire sentence and          The Court found at sentencing I directed others to violate the    I was not given    Document  Opening       Yes
    judgment on each of the Six      law even comparing telling people to file Form 1040 was like notice that Form          321    Brief at 49-
    Counts must be corrected being a drug dealer telling people to stop using drugs. Since people 1040 was divorced                    50
    in violation of Fifth            are not required to use Form 1040 when being required to file from the Six Counts
    Amendment Due Process clause a "Tax Return" under § 6012, then me telling people they             offense conduct
    and its equal protection.        were not required to file the 1040 Form could never be         misleading me into
                                     equated as telling them to "violate" the law.                       a completely
                                                                                                      different defense
                                                                                                    than ones like this I
                                                                                                     would have raised
                                                                                                          after being
                                                                                                          counseled.
 73 The referal [sic], indictment,   The Constitution specifically forbids any temporary delay in I lacked standing to       No        No         No
    conviction, sentence, and        the seeking a Writ of Habeas Corpus or its prompt resolution. challenge § 2255
    judgment on all Six Counts       See Article I, § 9, Cl.3. Congress established at 28 U.S.C. §   until the Supreme
    must be vacated or set aside due 2255 providing a procedure to allow for consideration of any Court denied my
    to the Writ of Habeas Corpus     grounds traditionally allowed to be addressed in a Habeas       Certiorari. I now
    being suspended.                 Corpus Petition. Congress does provide two other                   have standing.
                                     alternatives under 28 U.S.C. §§ 1651 and 2241 but the
                                     District and Appellate Courts of the United States prohibit
                                     Habeas Corpus being used under these sections requiring any
                                     relief from Trial errors be brought generally under §2255.
                                     Section 2255 requires a 1 year window to seek such relief
                                     under Habeas Corpus procedures which is not enough time to
                                     ascertain all the jurisdictional, and non jurisdictional
                                     grounds, that warrant relief.




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                                                                                                                                         Could
                                                                                                      Assertion re    Raised in          Have
                                                                                                     Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief        Asserted Grounds for Relief: Facts                             Not Raised Below Prosecution Appeal Raised
 74 The referral, indictment,         26 CFR § 601.101 states the "Internal Revenue Service is a    Springer concedes                  Opening      Yes
    conviction, sentence, and         bureau of the Department of the Treasury.." U.S. v.           this was raised on                Brief at 8-
    judgment, and the order on my Hoodenpyle, 461 Fed. Appx. 675, 682 (10th Cir. 2012).                direct appeal:                     11
    direct appeal, on all Six Counts, Although the Tenth Circuit relies upon § 601.101's first     "Counsel raised this
    must be vacated and set aside in sentence, it found Mr. Barringer and my reliance upon the        issue on direct
    violation of the Fifth            fourth sentence "within an internal revenue district the        appeal but the
    Amendment Due Process clause revenue laws are administered by a district director of           Tenth Circuit found
    and its equal protection          internal revenue" in challenging administration and          it meritless prior to
    component.                        enforcement prohibited without such districts and directors  its decision in U.S.
                                      meritless just 3 months prior to its Hoodenpyle decision. In   v. Hoodenpyle "
                                      light of the decision in Hoodenpyle reconsideration of my
                                      Motion to Dismiss for lack of jurisdiction and as prohibited
                                      by 4 U.S.C. § 72 is warranted and as the Tenth Circuit found
                                      there are no such Internal Revenue Districts or district
                                      director established by law.

 75 The sentence and judgment on On March 1, 2010 the Northern District Court in 08-cv-278           Appellate Counsel     Document      No         Yes
    all Six Counts must be vacated, ordered me to vacate my home of 14 years by April 15, 2010.         ineffective          322
    set aside, and corrected being in The sentence judge in 09-cr-043 set that hearing for April 21,
    violation of the Fifth            2010 and to last possibly two or more days. I requested a
    Amendment Due Process             continuance due to relocating my family due to the order in
    clause.                           08-cv-278 so I could properly prepare for the sentencing
                                      hearing and as denied. The errors resulting in the 15 year
                                      sentence and restitution plus tax loss amounts, and including
                                      enhancements, were not adequately and fairly litigated due to
                                      these extraordinary circumstances. I incorporate Grounds 1 to
                                      4, 10 to 14, 30, 34, 35, 39, 40, 42, 43, 44, 48, 67 and to the
                                      extent available and relevant, 71 and 72, as if set forth word
                                      for word herein.

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                                                                                                                                           Could
                                                                                                        Assertion re    Raised in          Have
                                                                                                       Raised or Why    Criminal Raised on been
 # Asserted Ground for Relief         Asserted Grounds for Relief: Facts                              Not Raised Below Prosecution Appeal Raised
 76 The indictment, conviction,       Defendant is well known to the Executive and Judicial           This issue was not      Mixed   Mixed   Yes
    sentence, judgment, and appeal branch personel [sic] of the United States Government, both        available or known
    decision, on all Six Counts must elected, appointed, and career employee, of Defendant's           to be raised until
    be vacated, set aside, and        mission to "get rid of the IRS" as alleged by the Grand Jury.     the October 26,
    corrected due to the United       As grounds 1 through 75 demonstrate and are incorporated           2011 decision
    States Judicial and Executive     herein, the Pattern and Bias is shown by the United States       solitified [sic] it.
    branches of Government, in        identified above saying or doing anything to deprive me of
    respect to my liberty and         my liberty or property when both the facts and the law are
    property interests, have acted in clearly in my favor. I incorporate my Declaration in its
    breach and total disregard to the entirety and also specifically at pages 63 through 68. The
    conditions by which the United shifting positions are voluminous and fundamentally unfair
    States received its enumerated resulting in the very outcome the United States was created
    powers as set forth in Grounds 1 and that was to protect my liberty and property.
    through 75.




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